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 7                                                              The Honorable Michael H. Simon
 8                       IN THE UNITED STATES DISTRICT COURT
 9                             FOR THE DISTRICT OF OREGON
10   AMERICAN RIVERS, et al.,                            NO. 3:01-CV-640-SI
11                      Plaintiffs,                      STATE OF WASHINGTON’S
     and                                                 MOTION TO WITHDRAW
12                                                       AS DEFENDANT-INTERVENOR
     STATE OF OREGON, et al.,                            AND FOR LEAVE TO
13                                                       PARTICIPATE AS AMICUS
                        Intervenor-Plaintiffs            CURIAE
14
           v.
15
     NATIONAL MARINE FISHERIES
16   SERVICE, et al.,
17
                        Defendants,
18
     and
19
     NORTHWEST IRRIGATION UTILITIES,
20   et al.,
21
                         Intervenor-Defendants.
22                           .
23                                    I.        RELIEF SOUGHT
24          This Court’s April 2, 2021, case schedule order provides that, by: “April 19, 2021: any

25   existing Intervenor or amicus curiae proposing a change of status that requires the Court’s

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     STATE OF WASHINGTON’S MOTION                   1              ATTORNEY GENERAL OF WASHINGTON
                                                                     Public Lands and Conservation Division
     TO WITHDRAW AS DEFENDANT-                                             1125 Washington Street SE
     INTERVENOR AND FOR LEAVE TO                                                 PO Box 40100
                                                                            Olympia, WA 98504-0100
     PARTICIPATE AS AMICUS CURIAE                                               (360) 753-6200
     No. 3:01-cv-640-SI
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 1   permission, and any new party that seeks to intervene in this case, shall file an appropriate
 2   motion …”
 3           Through this motion, Washington provides notice that it does not intend to participate
 4   as an intervening defendant with respect to the amended complaints filed herein. If an order
 5   dismissing the State as a formal party to this litigation is needed, that action is requested.
 6           At the same time, Washington seeks leave of this court to continue participating is this
 7   matter as amicus curiae. 1
 8                               II.      BASIS FOR REQUESTED RELIEF
 9           This case has been the vehicle for plaintiffs to serially challenge operation of the
10   Federal Columbia River Power System (FCRPS) within the context of records of decision by
11   federal action-agencies, corresponding Endangered Species Act biological opinions, and
12   associated National Environmental Protection Act assessments. This case has been maintained
13   through numerous remands, each displacing prior actions and decisions, followed by amended
14   petitions/complaints. The effect of that procedure has been that intervenors and/or amici have
15   been carried forward from one case to another absent some affirmative action re-aligning their
16   status or participation.
17           This motion clarifies Washington’s desired participation in this case now that renewed
18   judicial review will be undertaken for new decisions by federal action-agencies, along with
19   new ESA and NEPA determinations under review.
20           Washington does not intend to participate as a defendant-intervenor with regard to any
21   of the amended complaints that have been filed. Because Washington remains listed as a
22   defendant-intervenor, but is not a necessary defendant party, simply dropping Washington
23

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                In accordance with LCR 7, Washington provided all parties and amici with advance notice of its
     intended motion and requested that any opposition or concerns over the requested relief be shared with
25   Washington to see if any pre-motion coordination was needed. Plaintiffs National Wildlife Federation, and the
     State of Oregon, responded that they do not oppose the motion. Federal Defendants have similarly indicated they
     do not oppose the motion, as have various other defendant-intervenors and amici. While not every party and/or
26   amicus has responded, no entity has expressed concern or objection.
     STATE OF WASHINGTON’S MOTION                            2                ATTORNEY GENERAL OF WASHINGTON
                                                                                Public Lands and Conservation Division
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 1   from the full caption may be sufficient.         To the extent an order formally dismissing
 2   Washington State as a defendant-intervenor is needed, or desired, Washington requests that
 3   such an order be issued.
 4          While Washington does not desire to participate as a party, the State continues to have
 5   a significant interest in the subject matter of this litigation. Accordingly, the State would like
 6   to participate as amicus curiae.
 7          Washington’s ongoing interest in this matter is reflected in prior filings wherein the
 8   State was granted leave to intervene (See e.g. Dkt. 1514 – State of Washington’s Memorandum
 9   in Support of Unopposed Motion for Leave to Intervene as Defendant, at 1-4). Prior to that,
10   Washington had been granted leave to participate as amicus based upon its substantial interest
11   in the natural resources affected by operation of the FCRPS. See Dkt. 178.
12          Throughout this case, Washington has participated in the regional collaboration of
13   sovereigns that possess management expertise and responsibility for the natural resources
14   affected by the FCRPS – a collaboration that was crystalized and given added gravitas by this
15   Court’s prior remand orders.
16          In connection with the latest remand, the federal action-agencies formally designated
17   Washington State as a “cooperating agency” for purposes of conducting NEPA on the FCRPS
18   operations. Washington also played an active and significant role in negotiations over FCRPS
19   spill operations during the remand period.
20          Going forward, Washington will continue participating in regional collaboration and
21   discussions geared to address further refinement of FCRPS operations.                 While the State
22   recognizes the substantial work undertaken, and the progress that has been made to evolve
23   FCRPS operations, and the associated environmental review, the State looks forward to
24   continued collaboration to further improve operations as part of a comprehensive plan
25   addressing the needs of listed salmon and Southern Resident Killer Whales. Washington
26   anticipates the need for greater refinement of medium to long-term operations that improve
     STATE OF WASHINGTON’S MOTION                      3               ATTORNEY GENERAL OF WASHINGTON
                                                                         Public Lands and Conservation Division
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 1   productivity of Columbia Basin salmonids, along with measures that provide additional focus
 2   on the upper Columbia River portion of the FCRPS action area. These perspectives are
 3   reflected, in part, within Washington comments on the Columbia River System Operations
 4   Draft Environmental Impact Statement.
 5          Given this outlook, Washington feels it can best contribute to the current litigation as
 6   amicus curiae.     In particular, Washington intends to participate as unaligned amicus.
 7   Accordingly, if allowed to participate, Washington will only file briefs where it has a
 8   perspective it believes may add to, and assist this Court in resolving issues as they arise,
 9   informed by Washington’s continuing work within the regional collaboration.
10          This Court’s scheduling order specifically contemplates a role for unaligned amicus
11   and makes room for such briefing. Because the scheduling order already anticipates such
12   participation, granting Washington’s request for leave to participate on that basis will not
13   prejudice any party, delay matters, or unreasonably add complexity to this case.
14                                      III.     CONCLUSION
15          Based upon the foregoing, Washington respectfully requests an order removing the
16   State as defendant-intervenor, and granting the State’s request for leave to participate as an
17   unaligned amicus curiae on the terms set forth in this Court’s scheduling order.
18          DATED this 19th day of April, 2021.
19                                             ROBERT W. FERGUSON
                                               Attorney General
20

21                                             s/ Michael S. Grossmann ___
                                               MICHAEL S. GROSSMANN, WSBA No. 15293
22                                             Senior Counsel
                                               1125 Washington Street SE
23
                                               Post Office Box 40100
24                                             Olympia, Washington 98504-0100
                                               (360) 586-4034
25                                             OID No. 91033
                                               Attorneys for the State of Washington
26
     STATE OF WASHINGTON’S MOTION                    4               ATTORNEY GENERAL OF WASHINGTON
                                                                       Public Lands and Conservation Division
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 1
                                      CERTIFICATE OF SERVICE
 2

 3           I hereby certify that on April 19, 2021, I caused to be electronically filed the foregoing

 4   document with the Clerk of the Court using the CM/ECF system, which will send notice of the

 5   filing to all parties registered in the CM/ECF system for this matter.
 6           I certify under penalty of perjury, under the laws of the State of Washington, that the
 7
     foregoing is true and correct.
 8
             Dated this 19th day of April 2021, at Lacey, Washington.
 9
                                                           s/Diane Newman
10                                                         DIANE NEWMAN
                                                           Legal Assistant
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     STATE OF WASHINGTON’S MOTION                     5                 ATTORNEY GENERAL OF WASHINGTON
                                                                          Public Lands and Conservation Division
     TO WITHDRAW AS DEFENDANT-                                                  1125 Washington Street SE
     INTERVENOR AND FOR LEAVE TO                                                      PO Box 40100
                                                                                 Olympia, WA 98504-0100
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